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                          IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

    In re:                                                                 Chapter 11

    WOODBRIDGE GROUP OF COMPANIES,                                         Case No. 17-12560 (JKS)
    LLC, et al.,1
                                                                           (Jointly Administered)
                                   Remaining Debtors.

    MICHAEL GOLDBERG, as Liquidating Trustee of
    the Woodbridge Liquidation Trust, successor in                        Adv. Proc. Case Nos. (SEE EXHIBIT 1)
    interest to the estate of Woodbridge Group of
    Companies, LLC, et al.,

                                        Plaintiff,

    v.

    (SEE EXHIBIT 1 ATTACHED HERETO),

                                        Defendant.

         STATUS REPORT WITH RESPECT TO CERTAIN ADVERSARY MATTERS

             Michael Goldberg, in his capacity as Liquidating Trustee of the Woodbridge Liquidation

Trust, plaintiff in the above-referenced cases, hereby submits this status report pursuant to the

scheduling orders dated September 3, 2020 and September 15, 2020.

             Attached hereto is the status for the above-referenced cases associated with Woodbridge

Group of Companies, LLC, et al., Case No. 17-12560 (JKS).




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    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
    Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
    Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.


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 Dated: July 17, 2023                PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ Colin R. Robinson
                                     Bradford J. Sandler (DE Bar No. 4142)
                                     Andrew W. Caine (CA Bar No. 110345)
                                     Colin R. Robinson (DE Bar No. 5524)
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                                     Counsel to Plaintiff Michael Goldberg, as Liquidating
                                     Trustee of the Woodbridge Liquidation Trust




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STATUS CATEGORY E: List all cases that have settled or resolved, but a notice or stipulation
of dismissal cannot yet be filed.


          Defendant(s)            Adv. Case No.                     Comment
 Russell Bullis, Betsy Bullis    19-50310         This matter has been settled and paid in
                                                  full. Plaintiff intends to file a dismissal.
 Hart Placement Agency, Inc.     19-50847         This matter has been settled. Plaintiff
                                                  intends to file a dismissal once the
                                                  settlement payment has been received in
                                                  full.
 Michael Kandravi                19-50914         This matter has been settled. Plaintiff
                                                  intends to file a dismissal once the
                                                  settlement payment has been received in
                                                  full.
 Kim Butler                      19-50917         This matter has been settled. Plaintiff
                                                  intends to file a dismissal once the
                                                  settlement payment has been received in
                                                  full.
 John Fagan                      19-50947         This matter has been settled. Plaintiff
                                                  intends to file a dismissal once the
                                                  settlement payment has been received in
                                                  full.
 IRA Services Trust Company,     19-50581         This matter has been settled. Plaintiff
 Custodian for the Benefit of                     intends to file a dismissal once the
 Dwight L. Atherton IRA,                          settlement payment has been received in
 Dwight L Atherton                                full.
 Christ Temple Baptist Church    19-50756         This matter has been settled and paid in
                                                  full. A dismissal is in process.
 IRA Services Trust Company,     19-50808         This matter has been settled. Dismissal in
 Custodian for the Benefit of                     process.
 Lynette Eddy IRA, Lynette
 Eddy
 IRA Services Trust Company,     19-50814         This matter has been settled. Dismissal in
 Custodian For The Benefit of                     process.
 Earl Eddy IRA, Earl Eddy
 Frontier Advisors Group LLC,    19-50945         Mediated but did not settle.
 David Nichols
 Donovan Knowles                 19-50980         This matter has been settled. Plaintiff
                                                  intends to file a dismissal once the
                                                  settlement payment has been received in
                                                  full.
 John J. McNamara                19-50998         This matter has been settled Plaintiff
                                                  intends to file a dismissal once the
                                                  settlement payment has been received in
                                                  full.


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         Defendant(s)              Adv. Case No.                       Comment
 David Valencia, Valencia         19-51000           This matter has been settled. Plaintiff
 Financial Services, LLC                             intends to file a dismissal once the
                                                     settlement payment has been received in
                                                     full.
 Bette Tydings                    19-51002           This matter has been settled. Plaintiff
                                                     intends to file a dismissal once the
                                                     settlement payment has been received in
                                                     full.
 Dan Reisinger                    19-51007           This matter has been settled. Plaintiff
                                                     intends to file a dismissal once the
                                                     settlement payment has been received in
                                                     full.
 Searchlight Financial            19-51022           This matter has been settled. Plaintiff
 Advisors, LLC, Caroline                             intends to file a dismissal once the
 Rakness                                             settlement payment has been received in
                                                     full.
 Basic Financial Services Inc.,   19-51039           This matter has been settled. Plaintiff
 Basic Wealth Advisors, Inc.,                        intends to file a dismissal once the
 Fred C. Johnson                                     settlement payment has been received in
                                                     full.
 Retirement Services LLC          19-50931           This matter has been settled. Dismissal in
                                                     process.
 Christopher Longworth            19-50928           This matter has been settled and paid in
                                                     full. Plaintiff intends to file a dismissal.




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STATUS CATEGORY F: List all cases where service is complete, answer has been filed,
discovery/disclosures are underway, and expected date of completion of discovery/disclosure.


         Defendant(s)               Adv. Case No.                      Comment
 Maxwell Financial Group, Inc.     19-50915            The defendant submitted initial
                                                       disclosures on 4/15/21. Defendant has
                                                       given plaintiff an extension to submit
                                                       initial disclosures.
 Uma Gajavada                      19-51046            Discovery exchanged. Parties are
                                                       working though discovery issues with
                                                       production of documents and
                                                       deposition. Parties will seek to amend
                                                       the Scheduling Order.
 Stefan Kolosenko                  19-50301            Discovery exchanged and settlement
                                                       discussions ongoing.
 Kenneth Halbert                   19-51027            Discovery is ongoing.




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STATUS CATEGORY G: Mediator has been selected or appointed.

               Defendant(s)                Adv. Case No.      Appointed/Selected Mediator
                                                              and (as necessary) Additional
                                                                        Comments
 Joseph Lin                               19-50334          Ian Conner Bifferato, Esq.
                                                            Matter settled in mediation but
                                                            defendant refused to execute
                                                            settlement agreement.
 Ascensus, LLC, Custodian for the         19-50583          Derek C. Abbott, Esq.
 Benefit of Deborah J. Murphy IRA,                          Mediation was held but the matter
 Deborah J. Murphy                                          did not settle.
 Marcella P. Best                         19-50819          Leslie Berkoff, Esq.
                                                            Mediation was held and the
                                                            parties continue to work towards
                                                            resolving this matter.
 John J. Begley                           19-50830          Defendant is deceased and the
                                                            Trust is working with defendant’s
                                                            estate to proceed to mediation.
 Peter Greenberg                          19-50855          Ian Conner Bifferato, Esq.
                                                            Mediated but settlement not
                                                            reached.
 Chris Dantin Financial Services,         19-50922          Derek C. Abbott, Esq.
 LLC, Chris A. Dantin, Sr.                                  Stipulation for Judgment in
                                                            process.
 James Lamont                             19-50952          Ian Conner Bifferato, Esq.
                                                            Mediation was held, and the
                                                            mediator is continuing to work
                                                            with the parties to resolve this
                                                            matter.
 James E. Campbell Jr. Inc. (d/b/a        19-50965          Lucian B. Murley, Esq.
 Campbell Financial Corp.), and                             Mediated but did not settle.
 James E. Campbell, Jr.
 Dennis Drake, Mid-Atlantic Brokers,      19-51006          Ian Conner Bifferato, Esq.
 Inc.                                                       Mediation was held and the
                                                            parties continue to work towards
                                                            resolving this matter.
 Gaulan Financial LLC                     19-51012          Derek C. Abbott, Esq.
                                                            Matter proceeded to mediation
                                                            but did not settle.
 Legacy Financial Network and             19-51016          Lucian B. Murley, Esq.
 Retirement Services, Inc. and Jeffrey                      Pre-mediation settlement
 Nimmow                                                     discussions in process. Matter to
                                                            proceed to mediation.
 TWH Annuities & Insurance Agency, 19-51042                 Derek C. Abbott, Esq. Mediation
 Inc., Gryphon Financial Services                           was held and the parties continue


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               Defendant(s)              Adv. Case No.          Appointed/Selected Mediator
                                                                and (as necessary) Additional
                                                                          Comments
                                                              to work towards resolving this
                                                              matter.
 Jay N. Brown                           19-51047              Derek C. Abbott, Esq.
                                                              Mediation was held but did not
                                                              settle.
 Deb Brundage                           19-51069              Lucian B. Murley, Esq.
                                                              Mediation was held, but matter
                                                              did not settle.
 Sylvan R. Jutte, Jeannette E. Jutte    19-50308              Ian Conner Bifferato, Esq.
                                                              Mediation dates have been set for
                                                              pending matters.
 Brian D. Korkus, Robin L. Korkus       19-50309              Ian Conner Bifferato, Esq.
                                                              Mediation was held, and the
                                                              mediator is continuing to work
                                                              with the parties to resolve this
                                                              matter.
 Floyd G Davis, Lavonne J. Davis        19-50317              Ian Conner Bifferato, Esq.
                                                              Mediation dates have been set for
                                                              pending matters.
 Toomas Heinmets, Pamela Heinmets       19-50322              Ian Conner Bifferato, Esq.
                                                              Mediation was held, but matter
                                                              did not settle.
 Janet V. Dues                          19-50328              Ian Conner Bifferato, Esq.
                                                              Mediation dates have been set for
                                                              pending matters.
 Dena Falkenstein                       19-50329              Ian Conner Bifferato, Esq.
                                                              Mediation was held, and the
                                                              mediator is continuing to work
                                                              with the parties to resolve this
                                                              matter.
 Christian Lester                       19-50332              Ian Conner Bifferato, Esq.
                                                              Mediation was held but the matter
                                                              did not settle.
 Jane Marshall                          19-50335              Ian Conner Bifferato, Esq.
                                                              Mediation dates have been set for
                                                              pending matters.
 Jennifer Tom                           19-50342              Ian Conner Bifferato, Esq.
                                                              Mediation was held, and the
                                                              mediator is continuing to work
                                                              with the parties to resolve this
                                                              matter.
 Anita Bedoya, Mark Bedoya              19-50343              Ian Conner Bifferato, Esq.


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               Defendant(s)            Adv. Case No.          Appointed/Selected Mediator
                                                              and (as necessary) Additional
                                                                        Comments
                                                            Mediation was held but the matter
                                                            did not settle.
 Anita Bedoya, Julian Duran           19-50344              Ian Conner Bifferato, Esq.
                                                            Mediation was held but the matter
                                                            did not settle.
 Ronald Cole                          19-50346              Ian Conner Bifferato, Esq.
                                                            Mediation was held but the matter
                                                            did not settle.
 Ronald Draper                        19-50347              Ian Conner Bifferato, Esq.
                                                            Mediation dates have been set for
                                                            pending matters.
 Mary Ellen Nuhn                      19-50829              Judith Fitzgerald, Esq.
                                                            Mediation was held; matter did
                                                            not settle.




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STATUS CATEGORY H: List all cases that are ready for trial.


         Defendant(s)            Adv. Case No.                       Comment
 All Mark Insurance Services,   19-50921          In accordance with the mediator’s report
 Inc., Cameron Johnson                            filed by the mediator (Leslie Berkoff), the
                                                  matter has not been resolved and should
                                                  proceed to trial.
 Gregg W. Butler                19-50958          After not responding to default notices,
                                                  Defendant appeared telephonically before
                                                  the Court and is communicating with
                                                  Plaintiff’s counsel and the mediator (Leslie
                                                  Berkoff) to try to resolve this matter.
 Harold Plain                   19-50974          Defendant has not responded to default
                                                  notices. Plaintiff’s counsel is investigating
                                                  whether Defendant (or his estate if
                                                  Defendant is deceased) is capable of
                                                  proceeding in connection with this matter.
 Joseph A. Loox                 19-50978          After not responding to default notices,
                                                  Defendant appeared telephonically before
                                                  the Court and is communicating with
                                                  Plaintiff’s counsel and the mediator (Leslie
                                                  Berkoff) to try to resolve this matter.
 Ascensus, LLC,                 19-51050          An initial pre-trial conference was held on
 Administrator and Custodian                      2/8/22 and rescheduled to a date to be
 for the Benefit of                               determined. A proposed judgment has been
 Christopher M. Soulier Roth                      submitted and will be entered by the Court
 IRA, Christopher M. Soulier                      upon failure of the Defendant to appear at
                                                  the pre-trial conference and cooperate in the
                                                  preparation of a final pre-trial order.




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STATUS CATEGORY J: List all cases which are stayed by the filing of another bankruptcy
action affecting a party in this matter.


       Defendant(s)            Adv. Case No.                     Comment
 Randy Robertson              19-50977          Defendant filed for ch. 7 bankruptcy.




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                                         EXHIBIT 1

                               Defendant(s)                                   Adv. Case No.
 Christopher Longworth                                                       19-50928
 Stefan Kolosenko                                                            19-50301
 Sylvan R. Jutte, Jeannette E. Jutte                                         19-50308
 Brian D. Korkus, Robin L. Korkus                                            19-50309
 Russell Bullis, Betsy Bullis                                                19-50310
 Floyd G Davis, Lavonne J. Davis                                             19-50317
 Toomas Heinmets, Pamela Heinmets                                            19-50322
 Janet V. Dues                                                               19-50328
 Dena Falkenstein                                                            19-50329
 Christian Lester                                                            19-50332
 Joseph Lin                                                                  19-50334
 Jane Marshall                                                               19-50335
 Jennifer Tom                                                                19-50342
 Anita Bedoya, Mark Bedoya                                                   19-50343
 Anita Bedoya, Julian Duran                                                  19-50344
 Ronald Cole                                                                 19-50346
 Ronald Draper                                                               19-50347
 IRA Services Trust Company, Custodian for the Benefit of Dwight L.          19-50581
 Atherton IRA, Dwight L Atherton
 Ascensus, LLC, Custodian for the Benefit of Deborah J. Murphy IRA,          19-50583
 Deborah J. Murphy
 Christ Temple Baptist Church                                                19-50756
 IRA Services Trust Company, Custodian for the Benefit of Lynette Eddy       19-50808
 IRA, Lynette Eddy
 IRA Services Trust Company, Custodian For The Benefit of Earl Eddy          19-50814
 IRA, Earl Eddy
 Marcella P. Best                                                            19-50819
 Mary Ellen Nuhn                                                             19-50829
 John J. Begley                                                              19-50830
 Hart Placement Agency, Inc.                                                 19-50847
 Peter Greenberg                                                             19-50855
 Michael Kandravi                                                            19-50914
 Maxwell Financial Group, Inc.                                               19-50915
 Kim Butler                                                                  19-50917
 All Mark Insurance Services, Inc., Cameron Johnson                          19-50921
 Chris Dantin Financial Services, LLC, Chris A. Dantin, Sr.                  19-50922
 Retirement Services LLC                                                     19-50931
 Frontier Advisors Group LLC, David Nichols                                  19-50945
 John Fagan                                                                  19-50947
 James Lamont                                                                19-50952
 Gregg W. Butler                                                             19-50958
 James E. Campbell Jr. Inc. (d/b/a Campbell Financial Corp.), and James E.   19-50965


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                               Defendant(s)                                    Adv. Case No.
 Campbell, Jr.
 Harold Plain                                                                  19-50974
 Randy Robertson                                                               19-50977
 Joseph A. Loox                                                                19-50978
 Donovan Knowles                                                               19-50980
 John J. McNamara                                                              19-50998
 David Valencia, Valencia Financial Services, LLC                              19-51000
 Bette Tydings                                                                 19-51002
 Dennis Drake, Mid-Atlantic Brokers, Inc.                                      19-51006
 Dan Reisinger                                                                 19-51007
 Gaulan Financial LLC                                                          19-51012
 Legacy Financial Network and Retirement Services, Inc. and Jeffrey            19-51016
 Nimmow
 Searchlight Financial Advisors, LLC, Caroline Rakness                         19-51022
 Kenneth Halbert                                                               19-51027
 Basic Financial Services Inc., Basic Wealth Advisors, Inc., Fred C. Johnson   19-51039
 TWH Annuities & Insurance Agency, Inc., Gryphon Financial Services            19-51042
 Uma Gajavada                                                                  19-51046
 Jay N. Brown                                                                  19-51047
 Ascensus, LLC, Administrator and Custodian for the Benefit of Christopher     19-51050
 M. Soulier Roth IRA, Christopher M. Soulier
 Deb Brundage                                                                  19-51069




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